3/7/23, 8:41 AM      Case 1:21-cr-00623-CRC Document 113-4  Filed 03/07/23 Page 1 of 2
                                                      RCN Webmail


   RCN Webmail                                                                                   rssjrg@rcn.com


     Michael Eckerman character witness



         From : DAVID <kselkhunter@msn.com>                                       Mon, Mar 06, 2023 05:10 PM
     Subject : Michael Eckerman character witness                                                   1 attachment
             To : rssjrg@rcn.com


        Honorable Judge Christopher Cooper,

        I am the mother of Sarah Eckerman and Michael Eckerman is my son-in-law. I have known Michael for
        23 years. I have watched him grow from high school adolescent into adulthood and have been able
        to observe his personality and character as a grown man, husband and father to my 3 grandchildren
        during those years. During that time up to now I have never witnessed or known Michael to be a
        violent or abusive person to anyone, including most importantly, his wife, Sarah, and children, Jayden,
        Kowyn and Elliana. He is a deeply caring person not only to his family but also his co-
        workers, extended family and even strangers in need. He is compassionate and will always go the
        extra mile when asked to help someone out. He is committed to his family and his career. His career
        is of high priority. He has always held a steady job and been responsible with his financial obligations.

        Michael loves his wife, his children, his country and God. Both Michael and Sarah are good people.
        Their family unit is everything to them. Each person is valued, respected and loved. They love being a
        family. Together their first priority is caring for each other and meeting the needs of their children.
        They are a very close family heavily involved with each other. Michael's children love him very much
        and depend on him for his fatherly care and love. He is very active and involved in their home life,
        church and outside activities. He is protective and nurturing of them and has never harmed them in
        any way.

        Michael works very hard to support his family financially. His family is financially dependent on him
        for support. Sarah has no other form of financial assistance. Neither Michael or Sarah has ever asked
        for or needed any financial help from myself and they would certainly not ask or expect me to do so
        now. They are both independent and responsible but Sarah and the children rely on Michaels support
        both financially and physically. I believe my sister, Kathyrn implied in a recent letter to you that I
        would take responsibility for Michael’s family and she is incorrect.

        I respectfully plea to you on Michael's behalf to please consider my character witness of him. My
        deepest prayer is that you will consider my words as true and justified as you determine his sentence
        in this case.

        Respectfully,

        Dana K. Hogan




https://mail2.rcn.com/h/printmessage?id=89723&tz=America/New_York                                                   1/2
3/7/23, 8:41 AM      Case 1:21-cr-00623-CRC Document 113-4  Filed 03/07/23 Page 2 of 2
                                                      RCN Webmail

        Sent from Surfac




https://mail2.rcn.com/h/printmessage?id=89723&tz=America/New_York                        2/2
